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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                      *       CRIMINAL NO. 20-cr-00055
                                              *            SECT. I. MAG.4
VERSUS                                        *
                                              *       JUDGE AFRICK
JASON R. WILLIAMS (01)                        *
NICOLE E. BURDETT (02)                        *       MAGISTRATE JUDGE ROBY


UNITED STATES OF AMERICA                      *       CRIMINAL NO. 20-cr-00139
                                              *            SECT. I. MAG.3
                                              *
VERSUS                                        *       JUDGE AFRICK
                                              *
NICOLE E. BURDETT (01)                        *       MAGISTRATE JUDGE DOUGLAS


          GOVERNMENT’S REQUESTED SPECIAL VOIR DIRE QUESTIONS


       NOW INTO COURT, through the undersigned Assistant United States Attorneys, comes

United States of America, who respectfully request that the Court pose the following special

questions to the jury venire in addition to those usually asked by the Court:

1. Do you know of any other reason why you may be prejudiced for or against the United States

   or the defendant because of:

   a. The nature of the charges involved in this case;

   b. Any other circumstances.

2. Do you have any belief or opinion that any offense in which the defendant is charged is unique

   in any respect in the sense that:

   a. It should be pursued with extraordinary vigor;

   b. It should not constitute an offense.


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3. If you were the United States Attorney charged with the responsibility of prosecuting this case

   or if you were the defendant on trial here today charged with the same offense or if you were

   defense counsel, do you know of any reason why you would not be satisfied to have this case

   tried by someone in your present frame of mind:

4. Do any of you, because of some religious, moral, or philosophical belief, feel that you cannot

   reach a verdict in this case?

5. Can you think of any other matter which you should call to the Court’s attention which may

   have some bearing on your qualifications or competence of a juror?

                                             Respectfully submitted,

                                             MERRICK B. GARLAND
                                             United States Attorney General

                                             BRANDON B. BROWN
                                             United States Attorney
                                             Western District of Louisiana


                                     BY:     /s/ Kelly P. Uebinger
                                             KELLY P. UEBINGER, La. Bar No. 21028
                                             ALEXANDER C. VAN HOOK, La. Bar No. 25281
                                             JESSICA D. CASSIDY, La. Bar No. 34477
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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                      *       CRIMINAL NO. 20-cr-00055
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VERSUS                                        *
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JASON R. WILLIAMS              (01)           *
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UNITED STATES OF AMERICA                      *       CRIMINAL NO. 20-cr-00139
                                              *            SECT. I. MAG.3
                                              *
VERSUS                                        *       JUDGE AFRICK
                                              *
NICOLE E. BURDETT              (01)           *       MAGISTRATE JUDGE DOUGLAS


                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2022, I electronically filed the foregoing Government’s

Requested Special Voir Dire Questions with the Clerk of Court by using the CM/ECF system,

which will send a notice of electronic filing to all defense counsel of record.


                                              /s/ Kelly P. Uebinger___________________
                                              KELLY P. UEBINGER, La. Bar No. 21028
                                              ALEXANDER C. VAN HOOK, La. Bar No. 25281
                                              JESSICA D. CASSIDY, La. Bar No. 34477
                                              Assistant United States Attorneys




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